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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


DELSHONE THOMAS, et al.,                         :
                                                 :
       Plaintiffs,                               :
                                                 :
       v.                                        :          CIVIL ACTION NO.
                                                 :          1:21-CV-02558-LMM
                                                 :
GEORGIA DEPARTMENT OF                            :
COMMUNITY HEALTH, et al.,                        :
                                                 :
       Defendant.                                :

                                            ORDER

       On April 26, 2022, the parties mediated this civil action before Magistrate

Judge Walter E. Johnson and reached a settlement. They intend to file a

dismissal in the near future. Accordingly, this case is ADMINISTRATIVELY

CLOSED pending the parties’ filing the dismissal.1 The parties are DIRECTED

to file within sixty (60) days of the date of this Order either (1) the necessary

documents to dismiss this case or (2) a joint status update notifying the Court

why they are unable to file such documents.

       IT IS SO ORDERED this 27th day of April, 2022.



                                             __________________________________
                                             Leigh Martin May
                                             United States District Judge


1Administrative closure of a case does not prejudice the rights of the parties to litigation in any
manner. The parties may move to re-open an administratively closed case at any time.
